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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

Dylan Reeves
                         Plaintiff,
v.                                            Case No.: 1:21−cv−04592
                                              Honorable Sharon Johnson Coleman
Argolica, LLC
                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 21, 2022:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this case is dismissed without prejudice
for 30 days and with each party to bear its own costs. If no motion to reinstate is filed by
5/23/2022, the dismissal shall automatically convert to one with prejudice with no further
action by the Court. Defendant's motion to dismiss [11] is stricken as moot. Civil case
terminated. Mailed notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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